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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 RENATA SINGLETON,
 MARC MITCHELL,
 LAZONIA BAHAM,
 JANE DOE,                                          Civil Action No. 17-10721
 TIFFANY LACROIX,
 FAYONA BAILEY,
 JOHN ROE, and                                      Section H
 SILENCE IS VIOLENCE;
                                                    Judge Jane Triche Milazzo

        Plaintiffs,
                                                    Division 1

 v.                                                 Magistrate Judge Janis van Meerveld



 LEON CANNIZZARO, in his official
 capacity as District Attorney of Orleans
 Parish; GRAYMOND MARTIN; DAVID
 PIPES; JASON NAPOLI; ARTHUR
 MITCHELL; LAURA RODRIGUE; in their
 individual capacities,


        Defendants.




                      MOTION FOR SUMMARY JUDGMENT ON
                  PLAINTIFF’S CLAIMS AGAINST LAURA RODRIGUE

       Plaintiff Tiffany LaCroix (“Ms. LaCroix”), through her undersigned counsel, respectfully

submits this Motion for Summary Judgment on her state law claims against Defendant Laura

Rodrigue (“Rodrigue” or “Defendant”). As explained further in the accompanying

memorandum, the record shows that there are no genuine issues of material fact with respect to

Ms. LaCroix’s claims of Fraud and Abuse of Process against Rodrigue. Rodrigue admits that
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she sent fake subpoenas, including the fake subpoena she sent to Ms. LaCroix. Rodrigue further

admits that the fake subpoenas were sent for the improper purpose of getting witnesses to come

speak to her in the Orleans Parish District Attorney’s (“OPDA”) office to gather additional

information. The record clearly shows that Ms. LaCroix reasonably relied on the fake subpoena.

Ms. LaCroix hired an attorney on the day after receiving the fake subpoena, for the purpose of

representing her to quash the subpoena. Finally, Ms. LaCroix suffered an injury from relying on

the fake subpoena. She took time off work to hire her attorney and paid for her attorney to quash

the fake subpoena. Ms. LaCroix suffered the inherent harm of receiving a fake subpoena from

an office of law enforcement, the very people she had relied on to protect her. The record is also

clear that Ms. LaCroix easily meets the two elements of Abuse of Process. Rodrigue abused the

process laid out in the Louisiana Code of Criminal Procedure by creating and issuing subpoenas

that directed witnesses to appear before the district attorney (and explicitly invoked Article 66),

but were not overseen or signed by a judge. Rodrigue also knew at the time she issued the fake

subpoena that it was not a real subpoena obtained pursuant to the prescribed statutory process,

and did not carry the force and effect of “fine and imprisonment,” yet Rodrigue issued it so that

Ms. LaCroix would come and speak to her in the OPDA office. There are no facts in dispute and

no conflicting facts with respect to the claims of Fraud and Abuse of Process against Rodrigue,

and Plaintiff’s Motion for Summary Judgment should be granted.

Respectfully submitted this 11th day of January, 2021,

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